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                United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                                    September 1, 2023

                                          Before

                         FRANK H. EASTERBROOK, Circuit Judge

                         DAVID F. HAMILTON, Circuit Judge

                         MICHAEL Y. SCUDDER, Circuit Judge


No. 21-2413

NATIONAL LABOR RELATIONS                              On Application for Summary
BOARD,                                                Entry of a Judgment Enforcing an
       Petitioner,                                    Order of the National Labor
                                                      Relations Board.
         v.
                                                       Nos. 18-CA-266091
HAVEN SALON + SPA, INC.,                                    18-CA-267818
        Respondent.

                           WRIT OF BODY ATTACHMENT

To the United States Marshal for the Eastern District of Wisconsin, or the United
States Marshal for any District in which Timothy Dillett or Carley Dillett may be
found:

       Pursuant to the order issuing this Writ of Body Attachment, entered on
September 1, 2023, you and your deputies are hereby commanded to immediately
attach the person Timothy Dillett and the person Carley Dillett (jointly “the Dilletts”), to
place both of them in the custody of the Attorney General of the United States, and
immediately to bring them before a United States District Judge or United States
Magistrate in the district or districts in which they are taken into custody. The Dilletts’
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known place of business is Haven Salon + Spa, Inc., S76W17789 Janesville Road,
Muskego, WI 53150. The Dilletts’ last known personal addresses are W145S7644
Durham Drive, Muskego, WI 53150, and W184S8538 Dean Court, Muskego, WI 53150.
Upon execution of the Writ, you shall make due return. Should only one of the Dilletts
be located, after due diligence, you shall place the located individual into custody, as
described above.

       Further, you are directed to provide each of the Dilletts a copy of the court’s
order issuing this Writ of Body Attachment.

        Further, you are directed to provide to the National Labor Relations Board (“the
Board”), to the extent feasible, advance notice of the time and place you will bring the
Dilletts before a United States District Judge or United States Magistrate Judge as set
forth above. Such notice shall be provided to the Board’s Contempt, Compliance &
Special Litigation Branch by contacting either of the following Board Attorneys: Arish
Ali, who can be reached at 202-273-2922 or 202-701-4804, or Kevin Flanagan, who can be
reached at 202-273-2938 or 202-793-0445. Alternatively, if it is not possible to provide
advance notice, the District Court may contact either of the named Board Attorneys to
allow the Board to appear via telephone or videconference when the Dilletts are
brought before a United States District Judge or United States Magistrate Judge as set
forth above.

       In accordance with the court’s order authorizing this Writ, you and your
deputies are authorized to use necessary and reasonable force in entering and searching
the premises in which the Dilletts, together or individually, may be found, and in taking
them into custody, in order to effectuate this order.
